                                                                                                                                                  12/21/2011 10:50:10am
B6F (Official Form 6F) (12/07)
  In re William Stehl                                                                                          Case No. 11-22579
                                                                                                                            (if known)

                                                                                      AMENDED 12/21/2011
                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                              HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                     DATE CLAIM WAS                                   AMOUNT OF




                                                                                                                                   UNLIQUIDATED
                MAILING ADDRESS                                                                       INCURRED AND                                      CLAIM




                                                                                                                                    CONTINGENT
                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                     DISPUTED
              INCLUDING ZIP CODE,                                                                  CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                            CLAIM.
             (See instructions above.)                                                           IF CLAIM IS SUBJECT TO
                                                                                                    SETOFF, SO STATE.


ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
ABN AMRO Mortgage                                                                     Notice Only                                                        Notice Only
PO Box 9438                                                                           REMARKS:
                                                                  -
Gaithersburg, MD 20898



ACCT #: 54006                                                                         DATE INCURRED:
                                                                                      CONSIDERATION:
American Express                                                                      Credit Card                                                            $661.71
P.O.Box 650448                                                                        REMARKS:
                                                                  -
Dallas, TX 75265-0448



ACCT #: 14003447002527374                                                             DATE INCURRED:
                                                                                      CONSIDERATION:
Capital One                                                                           Credit Card                                                          $1,876.72
PO Box 60599                                                                          REMARKS:
                                                                  -
City of Industry, CA 91716




edNoticingPartiesDesignation                                                          Weinstein and Riley PS                                             Notice Only
Capital One                                                                           PO Box 3978
                                                                                      Seattle, WA 98124-0000



ACCT #: 8004                                                                          DATE INCURRED:
                                                                                      CONSIDERATION:
Chase                                                                                 Credit Card                                                          $5,854.25
PO BOX 15145                                                                          REMARKS:
                                                                  -
Wilmington, DE 19850-5145



ACCT #: 2974                                                                          DATE INCURRED:
                                                                                      CONSIDERATION:
Chase                                                                                 Credit Card                                                          $3,802.68
PO BOX 15145                                                                          REMARKS:
                                                                  -
Wilmington, DE 19850-5145



                                                                                                                               Subtotal >                  $12,195.36

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       4                     sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)




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B6F (Official Form 6F) (12/07) - Cont.
  In re William Stehl                                                                                                   Case No. 11-22579
                                                                                                                                     (if known)

                                                                                          AMENDED 12/21/2011
                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                        AMOUNT OF




                                                                                                                                            UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                           CLAIM




                                                                                                                                             CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                              DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.



 edNoticingPartiesDesignation                                                             CR Evergreen II, LLC                                                    Notice Only
 Chase                                                                                    MS 550
                                                                                          PO Box 91121
                                                                                          Seattle, WA 98111-9221


ACCT #: 607471323012****                                                                  DATE INCURRED:
                                                                                          CONSIDERATION:
Citi Financial                                                                            Credit Card                                                               $6,979.00
300 St Paul Place                                                                         REMARKS:
                                                                      -
BSP13A
Baltimore, MD 21202

ACCT #: 546616011552****                                                                  DATE INCURRED:   01/01/2007
                                                                                          CONSIDERATION:
Citibank                                                                                  Credit Card                                                               $6,388.00
701 E 60th St N                                                                           REMARKS:
                                                                      -
Sioux Falls, SD 57104




 edNoticingPartiesDesignation                                                             Citibank Credit Services, Inc.                                          Notice Only
 Citibank                                                                                 Alliance One Receivables Managment Inc.
                                                                                          PO Box 3107
                                                                                          Southeastern, PA 19398-3107


ACCT #: 5466160415526087                                                                  DATE INCURRED:
                                                                                          CONSIDERATION:
Citicorp Credit Services                                                                  Credit Card                                                              $10,524.45
Processing Center                                                                         REMARKS:
                                                                      -
Des Moines, IA 50364-0001



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Department of Commerce                                                                    State Mediation for Loan Mod                                              Unknown
1011 Plum Street SE                                                                       REMARKS:
                                                                      -
PO Box 42525
Olympia, WA 98504-2525

Sheet no. __________
              1        of __________
                               4     continuation sheets attached to                                                                    Subtotal >                  $23,891.45
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)




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B6F (Official Form 6F) (12/07) - Cont.
  In re William Stehl                                                                                              Case No. 11-22579
                                                                                                                                (if known)

                                                                                          AMENDED 12/21/2011
                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                   AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                      CLAIM




                                                                                                                                        CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 5421611442                                                                        DATE INCURRED:
                                                                                          CONSIDERATION:
FedLoan Servicing                                                                         Student Loans                                                       $20,500.00
PO Box 69184                                                                              REMARKS:
                                                                      -
Harrisburg, PA 17106-9184




 edNoticingPartiesDesignation                                                             New Hampshire Education Assistance                                 Notice Only
 FedLoan Servicing                                                                        4 Barrell Court
                                                                                          PO Box 2097
                                                                                          Concord, NH 03302


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Northwest Trustee Services, Inc                                                           Notice Only                                                        Notice Only
c/o Vonnie McElligott                                                                     REMARKS:
                                                                      -
PO Box 997
Bellevue, WA 98009-997

ACCT #: Steh0000001                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
Redwood Eye Clinic                                                                        Medical Bill                                                           $285.05
17601 140th Ave. NE Ste 200                                                               REMARKS:
                                                                      -
Woodinville, WA 98072



ACCT #: 1021079                                                                           DATE INCURRED:
                                                                                          CONSIDERATION:
Sallie Mae                                                                                Student Loans                                                       $56,403.36
P.O. Box 9500                                                                             REMARKS:
                                                                      -
Wilkes-Barre, PA 18773-9500



ACCT #: 6583                                                                              DATE INCURRED:
                                                                                          CONSIDERATION:
Wells Fargo                                                                               Credit Card                                                         $13,328.00
PO BOX 9210                                                                               REMARKS:
                                                                      -
DES MOINES, IA 50306



Sheet no. __________
              2        of __________
                               4     continuation sheets attached to                                                               Subtotal >                  $90,516.41
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)




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B6F (Official Form 6F) (12/07) - Cont.
  In re William Stehl                                                                                                Case No. 11-22579
                                                                                                                                  (if known)

                                                                                          AMENDED 12/21/2011
                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                     AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                        CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.



 edNoticingPartiesDesignation                                                             Wells Fargo Bank, NA                                                 Notice Only
 Wells Fargo                                                                              c/o Wells Fargo Card Services
                                                                                          Recivery Department
                                                                                          PO Box 9210
                                                                                          Des Moines, IA 50306

ACCT #: 17765133                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
Wells Fargo Bank, NA                                                                      Credit Card                                                           $11,410.34
PO Box 10438 MAC X2505-016                                                                REMARKS:
                                                                      -
Des Moines, IA 50306



ACCT #: 6628755345                                                                        DATE INCURRED:
                                                                                          CONSIDERATION:
Wells Fargo BK NV                                                                         Line of Credit                                                        $10,524.42
PO Box 3117                                                                               REMARKS:
                                                                      -
Winston-Salem, NC 27102




 edNoticingPartiesDesignation                                                             Professional Bureau                                                  Notice Only
 Wells Fargo BK NV                                                                        PO Box 628
                                                                                          Elk Grove, CA 95759




 edNoticingPartiesDesignation                                                             Wells Fargo Servicing Center                                         Notice Only
 Wells Fargo BK NV                                                                        Personal Credit Mgmt Payment Processing
                                                                                          MAC Q2132-013
                                                                                          PO Box 94423
                                                                                          Albequerque, NM 87199-9833

ACCT #: 6048700006210666                                                                  DATE INCURRED:
                                                                                          CONSIDERATION:
Wells Fargo Financial                                                                     Credit Card                                                            $5,065.41
PO Box 660041                                                                             REMARKS:
                                                                      -
Dallas, TX 75266



Sheet no. __________
              3        of __________
                               4     continuation sheets attached to                                                                 Subtotal >                  $27,000.17
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)




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B6F (Official Form 6F) (12/07) - Cont.
  In re William Stehl                                                                                                 Case No. 11-22579
                                                                                                                                   (if known)

                                                                                          AMENDED 12/21/2011
                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                      AMOUNT OF




                                                                                                                                          UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                         CLAIM




                                                                                                                                           CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                            DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.



 edNoticingPartiesDesignation                                                             Wells Fargo Bank                                                      Notice Only
 Wells Fargo Financial                                                                    4137 121st St
                                                                                          Urbandale, IA 50323



ACCT #: 4465420194086883                                                                  DATE INCURRED:
                                                                                          CONSIDERATION:
Wells Fargo USA                                                                           Credit Card                                                            $13,623.34
PO Box 30086                                                                              REMARKS:
                                                                      -
Los Angeles, CA 90030



ACCT #: 604870000621****                                                                  DATE INCURRED:
                                                                                          CONSIDERATION:
WF Fin Cards                                                                              Credit Card                                                             $5,190.00
MAC 4031-080                                                                              REMARKS:
                                                                      -
800 Walnut St
Des Moines, IA 50309

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Internal Revenue Service                                                                  Required Notification
PO BOX 7346                                                                               REMARKS:
PHILADELPHIA, PA 19101-7346




Sheet no. __________
              4        of __________
                               4     continuation sheets attached to                                                                  Subtotal >                  $18,813.34
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                              $172,416.73
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)




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